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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 STUDENT LOAN SERVICING
 ALLIANCE,

            Plaintiff,                           Civil Action No. 1:18-cv-0640 (PLF)

            v.

 STEPHEN C. TAYLOR;
 CHARLES A. BURT; and
 DISTRICT OF COLUMBIA,

            Defendants.



                 STATEMENT OF INTEREST OF THE UNITED STATES

                                     INTRODUCTION

        The United States respectfully submits this brief pursuant to 28 U.S.C. § 517.1 The

United States has a substantial interest in, and a long history of, helping students access

postsecondary education. For decades, the United States has sought to increase access to

higher education by serving as a reinsurer and guarantor of private loans, serving as the

sole originator and holder of Direct Loans, and establishing a variety of other federal

programs to aid students. As part of its management of federal student loans, the United

States selects, contracts with, and supervises loan servicers that administer many parts of

the Federal Government’s student loan programs, particularly those related to interacting




        1
          “The Solicitor General, or any officer of the Department of Justice, may be sent
by the Attorney General to any State or district in the United States to attend to the interests
of the United States in a suit pending in a court of the United States, or in a court of a State,
or to attend to any other interest of the United States.” 28 U.S.C. § 517.
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with borrowers. Here, however, the District of Columbia (D.C.) seeks to second guess the

Federal Government’s selection of contractors by imposing a licensing requirement, and

purporting to require those contractors to disclose information that federal law and their

contracts require be kept confidential unless the Federal Government authorizes

disclosure. In these respects, D.C. Law 21-214 (D.C. Law), Am. Compl., Ex. B, ECF No.

19-2, and its implementing regulations conflict with federal law and thus are preempted.

                                   BACKGROUND

       The Federal Government, through the Department of Education (Education), plays

an important role in making higher education accessible to students, including by making

and facilitating loans to student and parent borrowers.      The Federal Government’s

investment in higher education takes several forms, as set forth in the Higher Education

Act of 1965, as amended (HEA). Pub. L. No. 89-329, 79 Stat. 1219 (codified as amended

at 20 U.S.C. § 1001 et seq.). The Federal Government directly provides loans to student

and parent borrowers under the William D. Ford Federal Direct Loan Program, 20 U.S.C.

§ 1087a et seq. The Federal Government also guarantees loans made by private and non-

profit lenders under the Federal Family Education Loan Program (FFELP), 20 U.S.C.

§ 1071 et seq.2 The Federal Government also owns a significant quantity of outstanding

FFELP loans that it purchased from private lenders pursuant to the Ensuring Continuing

Access to Student Loans Act of 2008, § 7, Pub. L. No. 110-227, 122 Stat. 740 (May 7,

2008) (amending 20 U.S.C. §§ 1087a, i), as well as some defaulted FFELP loans on which




       2
         No new FFELP loans have been issued since the SAFRA Act was passed in 2010,
Pub. L. No. 111-152, 124 Stat. 1029 § 2201 (2010), although many FFELP loans remain
outstanding.
                                            2
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Education has made reinsurance payments, 20 U.S.C. § 1078(c). The Federal Government

has also contributed funds towards Perkins Loans, some of which are owned by educational

institutions and some of which are owned by Education. 20 U.S.C. § 1087aa. Education

also offers eligible borrowers a variety of income-driven repayment programs, and the

opportunity for loan forgiveness—including through the Public Service Loan Forgiveness

Program. See 20 U.S.C. § 1087e(e) (income contingent repayment); id. § 1087(m) (Public

Service Loan Forgiveness Program).

       All told, outstanding federal student loans total $1.407 trillion,3 of which $1.196

trillion comprises loans held and managed by the Federal Government.4 Indeed, federal

student loans comprised more than 45% of the Federal Government’s total financial assets

in the fourth quarter of 2017. Board of Governors of the Federal Reserve System, Federal

Reserve Statistical Release, Financial Accounts of the United States, Flow of Funds,

Balance Sheets, and Integrated Macroeconomic Accounts, First Quarter 2018 at 83, Table

L.106 Federal Government (June 7, 2018), https://www.federalreserve.gov/releases/z1/

20180607/z1.pdf. In D.C. alone, Education contracts for the servicing of approximately



       3
          See Federal Student Aid, Federal Student Aid Portfolio Summary (last viewed
June 25, 2018), https://studentaid.ed.gov/sa/about/data-center/student/portfolio (showing
$1.407 trillion total outstanding federal student loans at the end of the second quarter of
2018). The amount for total federal student loans includes both principal and interest on
all outstanding Direct Loans, FFELP loans, and Perkins Loans, regardless of whether those
loans are managed by the Federal Government.
       4
          See Federal Student Aid, Portfolio by Loan Status (last viewed June 25, 2018),
https://studentaid.ed.gov/sa/about/data-center/student/portfolio (the categories listed under
“Federally Managed” total $1.196 trillion at the end of the second quarter of 2018). This
amount for federally managed student loans includes Direct Loans and those FFELP loans
that are held by the Federal Government. The actual value of loans managed by Education
is actually somewhat higher than $1.196 trillion, as Education also holds several million
dollars in Perkins Loans that are not reflected in this total due to the way Education’s data
are organized.
                                             3
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$5.1 billion in federal student loans managed and held by Education. Declaration of Barry

S. Goldstein ¶ 4 (attached as Exhibit A). These loans relate to approximately 91,700 D.C.

residents. Id.

       Education enters into contracts with loan servicers to manage this enormous

investment in access to higher education.5 Loan servicers communicate with borrowers,

collect payments, effectuate discharges, and perform other administrative tasks associated

with student loans. The HEA explicitly authorizes Education to enter into contracts with

servicers as long as the agency “ensure[s] that such services and supplies are provided at

competitive prices.” 20 U.S.C. § 1087f(a)(1); see also 20 U.S.C. § 1081a(c)(1) (Education

should “maximize the use of performance-based servicing contracts, consistent with

guidelines for such contracts published by the Office of Federal Procurement Policy, to

achieve cost savings and improve service”); see also, e.g., PHEAA Contract Attachment

A-1 at 36 (“It is the intent of the Department to procure a performance-based contract(s)

that promotes competition and provides best of business services.”); PHEAA Contract

Attachment A-4 (describing the allocation of loans among servicers based on

performance). Education complies with a variety of federal requirements in selecting its

servicers. Pursuant to the HEA, Education must “enter into contracts only with entities

that have extensive and relevant experience and demonstrated effectiveness,” must obtain



       5
         Education contracts with nine student loan servicers to service Direct Loans and
the FFELP loans that Education holds and manages. Goldstein Decl. ¶ 5, Ex. A. Portions
of Education’s contracts with these nine servicers are available at https://studentaid.ed.gov/
sa/about/data-center/business-info/contracts/loan-servicing.
       6
         The provisions of Education’s contract with PHEAA cited throughout this
Statement of Interest are available at https://studentaid.ed.gov/sa/about/data-center/
business-info/contracts/loan-servicing under “Title IV Additional Servicing (TIVAS)
Contracts (2009).”

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“competitive prices,” and select “only entities which the Secretary determines are qualified

to provide such services and supplies and will comply with the procedures applicable to

the award of such contracts.” 20 U.S.C. § 1087f(a). Pursuant to the Federal Acquisition

Regulation, Education must contract only with “responsible” contractors, which means

contractors with suitable past performance and financial health, among other requirements.

See 48 CFR §§ 9.100 to 9.108-5.

       Beginning with selection and continuing throughout the life of the contracts,

Education comprehensively governs its servicers’ performance.             Even Education’s

allocation of loans among servicers is driven by the servicers’ performance—Education

“allocat[es] more loans to servicers that meet performance metrics such as high levels of

customer satisfaction and [] pay[s] servicers higher rates for loans that are in a

nondelinquent status.” Federal Preemption and State Regulation of the Department of

Education’s Federal Student Loan Programs and Federal Student Loan Servicers (Federal

Preemption Notice), 83 Fed. Reg. 10,619, 10,622 (Mar. 12, 2018). Education’s continuing

supervision of its servicers is reflected in their contracts, which are extensive and lengthy,

and frequently updated with modifications in the form of “change requests.”7 One of

Education’s components, the office of Federal Student Aid (FSA), audits the servicers and

communicates daily with them. FSA also “maintains a Feedback System, which includes

a formal process for borrowers to report issues or file complaints about their loan

experiences, including problems with servicing.” Id. Borrowers additionally can lodge




       7
        See Statement of Interest by the United States at 5-6, Massachusetts v. Pa. Higher
Educ. Assistance Auth., No. 1784-CV-02682 (Ma. Super. Ct., Jan. 8, 2018).
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complaints with “the FSA Ombudsman Group—a neutral and confidential resource

available to borrowers to resolve disputes related to their loans.” Id.

       Despite Education’s rigorous existing structures for managing its servicers and

Congress’s clear direction in the HEA that Education would be responsible for that

management, D.C. separately has imposed its own regime over student loan servicers. In

2016, the D.C. Council enacted a statute authorizing regulation of student loan servicers.

D.C. Law 21-214 (D.C. Law), Am. Compl., Ex. B, ECF No. 19-2. The D.C. Law applies

to most entities “seeking to operate as [] student loan servicer[s] in the District,” D.C. Law

§ 7b(c)(1), and requires them to acquire a license from the D.C. Department of Insurance,

Securities and Banking (DISB).

       DISB subsequently enacted three successive emergency rules, followed by a final

rule, to implement the D.C. Law. See Notice of Emergency and Proposed Rulemaking

(Sept. 8, 2017), Am. Compl., Ex. D, ECF No. 19-4; Notice of Emergency and Proposed

Rulemaking (Dec. 26, 2017), Am. Compl., Ex. I, ECF No. 19-9; Notice of Emergency and

Proposed Rulemaking (Third Emergency Rules) (Apr. 20, 2018), Am. Compl., Ex. L, ECF

No. 19-12; Notice of Final Rulemaking (Final Rules) (Aug. 10, 2018), 65 D.C. Reg. 8395,

Am. Compl., Ex. O, ECF No. 19-15. The major provisions of the D.C. Law and the Rules

include a licensing requirement for student loan servicers, fees and assessments that

servicers must pay, and mandatory disclosure requirements for servicers.

       The Rules require student loan servicers that service the loans of D.C. residents to

be licensed. To obtain a license, servicers must satisfy a variety of requirements, including

(1) declaring that they have not had a similar license revoked in another jurisdiction;

(2) declaring that their officers and owners have not been convicted of certain felonies;



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(3) demonstrating “financial responsibility, character and general fitness,” including by

providing three years of audited financial statements; (4) providing a $50,000 surety bond

in favor of DISB for the recovery of fees or expenses or to compensate D.C. or a person

injured by a servicer’s unlawful action; and (5) providing their business plan and

procedures for handling customer complaints. Final Rules §§ 3000.1-3004.7.

       The Rules also require that servicers pay a variety of fees and assessments to service

student loans in D.C. The application fee for a license is $1,100, plus a fee charged by the

Nationwide Multistate Licensing System & Registry8 (NMLS). Final Rules § 3023.1. The

license must be renewed every year for a renewal fee of $900, plus a fee charged by NMLS.

Final Rules § 3023.1. In addition to the licensing fees, licensed servicers must also pay an

annual assessment, set at the rate of $0.50 for each borrower residing in D.C. Final Rules

§ 3023.1. The Rules also contemplate that DISB will examine each licensed servicer at

least every three years, and require servicers to pay $400 for every examination day. Final

Rules § 3023.1.

       The Rules require licensed servicers to make a number of disclosures to DISB and

grant DISB broad authority to demand additional disclosures beyond those explicitly listed

in the Rules. For example, in addition to mandatory annual reports that state “[t]he number

of student education loans sold, assigned or transferred during the preceding calendar




       8
         NMLS is an entity that administers licenses and other records for multiple states
and jurisdictions. See NMLS Resource Center, https://nationwidelicensingsystem.org/
Pages/default.aspx. D.C. already uses NMLS to manage other licenses, including those
required for mortgage brokers and check cashers. See NMLS Resource Center, State
Licensing Requirements, District of Columbia, https://nationwidelicensingsystem.org/slr/
Pages/DynamicLicenses.aspx?StateID=DC.

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year,” licensed servicers also must report “[a]ny other relevant information related to

business operations required by [DISB].” Final Rules § 3014.2. And servicers must

provide DISB with all “complaint[s] against a licensee . . . on a form prescribed by [DISB],

and in accordance with the procedures or processes prescribed by [DISB].” Final Rules

§ 3022.1. Licensed servicers have an ongoing obligation to report certain events to DISB,

including bankruptcy or the resolution of lawsuits involving fraud or misrepresentation.

Final Rules § 3016.1. Licensed servicers must also retain records on loans for three years

after the loans are sold, assigned or transferred, Final Rules § 3018.1,9 and “make

applicable books and records available to [DISB]” at DISB’s request, Final Rules § 3018.2,

presumably including as part of the examination process.10

                                      DISCUSSION

       D.C.’s regulation of servicers of federal student loans violates the Supremacy

Clause. The Supremacy Clause of the U.S. Constitution provides that “the Laws of the

United States . . . shall be the supreme Law of the Land.” U.S. Const. art. VI, cl. 2. Where

state law is incompatible with federal law, therefore, state law must yield.11 Federal law

preempts state law in three situations: first, when federal law expressly provides that state




       9
         The record-retention requirement of the Third Emergency Rules states that it does
not apply “to the extent prohibited by federal law.” Final Rules § 3018.1.
       10
         Both the record-retention requirement and the requirement that licensed servicers
make records available to DISB “may [be] waive[d] or reduce[d] . . . if [DISB] determines
that compliance would require the licensee to violate federal law.” Final Rules § 3018.4.
       11
          Although D.C. is not a state, the preemption doctrine applies to District statutes
“no less” than state enactments. Don’t Tear It Down, Inc. v. Pa. Ave. Dev. Corp., 642 F.2d
527, 534 n.65 (D.C. Cir. 1980).

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law is preempted; second, when federal law occupies an entire field; and third, when federal

law and state law conflict. Arizona v. United States, 567 U.S. 387, 399 (2012).

       Under conflict preemption, “a federal statute implicitly overrides state law . . . when

state law is in actual conflict with federal law” either because it is “impossible for a private

party to comply with both state and federal requirements” or because “state law stands as

an obstacle to the accomplishment and execution of the full purposes and objectives of

Congress.”12 Freightliner Corp. v. Myrick, 514 U.S. 280, 287 (1995) (internal quotation

marks and citations omitted); see also Geier v. Am. Honda Motor Co., 529 U.S. 861, 873

(2000) (“obstacle” exists whether it “goes by the name of ‘conflicting; contrary to;

. . . repugnance; difference; irreconcilability; inconsistency; violation; curtailment; . . .

interference,’ or the like”). In an area “involving ‘uniquely federal interests,’” the conflict

between state and federal law “need not be as sharp as that which must exist for ordinary

pre-emption.” Boyle v. United Techs. Corp., 487 U.S. 500, 504, 507 (1988) (citation

omitted).13 Conflict preemption does not require that the preempting federal law explicitly




       12
          “Federal regulations have no less preemptive effect than federal statutes.”
Fidelity Fed. Sav. & Loan Ass’n v. de la Cuesta, 458 U.S. 151, 153 (1982).
       13
           Federal student loans—as well as the Federal Government’s relationships with
its servicers and other contractors—implicate uniquely federal interests. See Boyle, 487
U.S. at 504-05 (holding that federal contracts are an area of uniquely federal interest
because “obligations to and rights of the United States under its contracts are governed
exclusively by federal law” (citing United States v. Little Lake Misere Land Co., 412 U.S.
580 (1973); Priebe & Sons, Inc. v. United States, 332 U.S. 407 (1947); Nat’l Metro. Bank
v. United States, 323 U.S. 454 (1945))); cf. United States v. Victory Highway Vill., Inc.,
662 F.2d 488, 497 (8th Cir. 1981) (holding that because of “an overriding federal interest
in protecting the funds of the United States and in securing federal investments,” federal
law, rather than state or local law, must govern the remedies available upon default of a
federally held or insured loan).

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provide that state law is preempted. Here, multiple sources of federal law conflict with,14

and therefore preempt, D.C.’s Law and Rules.

  I.     Federal Statutes and Regulations Governing the Selection of Contractors
         Preempt D.C.’s Licensing Requirement.

         D.C. cannot usurp the Federal Government’s authority to select contractors

according to its own criteria by imposing a licensing requirement for the servicing of

federal student loans.15 It is well established that states may not attempt to control the

Federal Government’s selection of contractors through the imposition of a licensing

requirement. The Supreme Court and the courts of appeals have frequently invalidated

state-licensing requirements for federal employees and federal contractors. See Sperry v.

Florida ex rel. The Fla. Bar, 373 U.S. 379, 385 (1963) (“State[s] may not enforce licensing

requirements which, though valid in the absence of federal regulation, give ‘the State’s

licensing board a virtual power of review over the federal determination’ that a person or



         14
          Although consumer protection is within states’ traditional police powers, and the
Supreme Court has recognized a presumption against preemption in fields “which the
States have traditionally occupied,” Engine Mfrs. Ass’n v. S. Coast Air Quality Mgmt. Dist.,
541 U.S. 246, 260 (2004), such a presumption is inapplicable where, as here, a state
purports to regulate federal contracts and contractors. Boyle, 487 U.S. at 504-05; see also
Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 347 (2001) (holding that no
presumption against federal preemption was warranted because “the relationship between
a federal agency and the entity it regulates is inherently federal in character because the
relationship originates from, is governed by, and terminates according to federal law”).
Even if the presumption were applicable, it would be rebutted here. See Chae v. SLM
Corp., 593 F.3d 936, 944 (9th Cir. 2010) (considering the presumption, but concluding that
the HEA preempted various state-law claims against loan servicers because “it is our duty
to consider carefully what Congress was trying to accomplish in the HEA and whether
these state law claims create an ‘obstacle’ to the congressional purposes”).
         15
          This Statement of Interest addresses only D.C.’s licensing requirement as applied
to servicers of federal student loans in the course of their contracts with Education, or, in
other words, as it applies to the servicing of federally managed student loans. This includes
servicers of Direct Loans, Education-held FFELP loans, and Education-held Perkins
Loans.
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agency is qualified and entitled to perform certain functions, or which impose upon the

performance of activity sanctioned by federal license additional conditions not

contemplated by Congress.’” (quoting Leslie Miller Inc. v. Arkansas, 352 U.S. 187, 190

(1956) (footnotes omitted))); see also United States v. Virginia, 139 F.3d 984, 987 (4th Cir.

1998) (“[T]he Virginia regulatory scheme frustrates the objectives of the federal

procurement laws by allowing the state to ‘second-guess’ the FBI’s responsibility

determination.”); Gartrell Constr. Inc. v. Aubry, 940 F.2d 437, 439 (9th Cir. 1991) (holding

that a state law is preempted when it “is effectively attempting to review the Federal

Government’s responsibility determination” in selecting its contractor (citation omitted)).

       In Leslie Miller, the Supreme Court considered whether the State of Arkansas could

require a construction company to obtain an Arkansas contractor’s license to perform work

for the United States. Leslie Miller Inc., 352 U.S. at 187. The Supreme Court struck down

Arkansas’s requirement because:

               [T]he immunity of the instruments of the United States from
               state control in the performance of their duties extends to a
               requirement that they desist from performance until they
               satisfy a state officer upon examination that they are
               competent for a necessary part of them and pay a fee for
               permission to go on. Such a requirement does not merely
               touch the Government servants remotely by a general rule of
               conduct; it lays hold of them in their specific attempt to obey
               orders and requires qualifications in addition to those that the
               Government has pronounced sufficient. It is the duty of the
               Department to employ persons competent for their work and
               that duty it must be presumed has been performed.
Id. at 190 (quoting Johnson v. Maryland, 254 U.S. 51, 57 (1920)). Yet here, D.C. seeks

precisely such a forbidden power of review—that loan servicers “desist from performance

until they satisfy a state officer upon examination that they are competent . . . and pay a fee

for permission to go on” through its licensing requirement and fees. D.C.’s laws are


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improper both because they seek to replicate the federal criteria for evaluating contractors

and thereby allow D.C. to second-guess the Federal Government’s evaluation, and because

they attempt to add additional criteria beyond what federal law requires.

       Here, as in Leslie Miller, D.C.’s criteria for licensing student loan servicers overlap

with the criteria used by Education to select contractors. Pursuant to the HEA, Education

is required to obtain “competitive prices” and to select “only entities which the Secretary

determines are qualified to provide such services and supplies and will comply with the

procedures applicable to the award of such contracts.” 20 U.S.C. § 1087f(a). Congress

also intended the servicers to be “selected by and responsible to the Department of

Education.” H.R. Rep. No. 103-111, at 107 (1993). Pursuant to the Federal Acquisition

Regulation, Education must contract only with “responsible” contractors, which means

contractors with suitable past performance and financial health. See 48 C.F.R. § 9.100 to

9.108-5. D.C.’s licensing requirements duplicate the federal requirement of demonstrating

financial responsibility. Compare Final Rules § 3002.2(c) (requiring applicants for a

license to demonstrate “financial responsibility . . . and general fitness”), and Final Rules

§ 3003 (requiring servicers to submit financial statements and show a sufficient net worth),

with 48 C.F.R. § 9.104-1(a) (requiring that prospective contractors “[h]ave adequate

financial resources to perform the contract, or the ability to obtain them”). D.C.’s

requirements also duplicate the federal requirement of good character and integrity.

Compare Final Rules § 3002.2(c) (requiring applicants for a license to demonstrate

“character”), and Final Rules § 3002.2(b) (requiring officers to swear they do not have

recent felony convictions), with 48 C.F.R. § 9.104-1(d) (requiring that prospective

contractors “[h]ave a satisfactory record of integrity and business ethics”).



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       D.C.’s further attempt to impose additional and more stringent requirements on

federal contractors is also improper and invalid because it impedes the accomplishment

and execution of the full purposes and objectives of federal law. “When Congress has

taken the particular subject-matter in hand coincidence is as ineffective as opposition, and

a state law is not to be declared a help because it attempts to go farther than Congress has

seen fit to go.” Charleston & W. Carolina Ry. Co. v. Varnville Furniture Co., 237 U.S.

597, 604 (1915); see also United States v. Locke, 529 U.S. 89, 114 (2000) (“The [federal]

statute may not be supplemented by laws enacted by the States without compromising the

uniformity the federal rule itself achieves.”); cf. United States v. California, No. 2:06-CV-

2649-GEB-GGH, 2007 WL 3341670, at *8 (E.D. Cal. Nov. 8, 2007) (holding that conflict

preemption barred a state from refusing to disclose criminal history information to federal

contractors on the grounds that state law limited such disclosures to only public officials,

because the state’s public-official requirement was an attempt to “second guess” the

agency’s determination, as required by federal law, that the contractors were responsible).

Here, D.C. attempts to add several requirements for loan servicers beyond those set by the

federal government.      See Final Rules § 3003.3 (requiring licensed servicers to

“continuously maintain a net worth of not less than two hundred fifty thousand dollars”);

Final Rules § 3004 (requiring licensed servicers to post a surety bond). Such requirements

endanger Education’s goals of obtaining “competitive prices,” 20 U.S.C. § 1087f(a)(1),

and generating “cost savings,” 20 U.S.C. § 1081a(c)(1), because D.C.’s additional

requirements and fees likely would lead the contractors to pass on increased costs to the

Federal Government.




                                             13
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         For these reasons, D.C.’s attempt to second guess through its licensing requirement

Education’s determination of which servicers to contract with “stands as an obstacle to the

accomplishment and execution of the full purposes and objectives of Congress,” and is thus

preempted by federal law.16 Arizona v. United States, 567 U.S. 387, 399 (2012) (quoting

Hines v. Davidowitz, 312 U.S. 52, 67 (1941)); see also Federal Preemption Notice, 83 Fed.

Reg. at 10,620.

 II.     D.C.’s Licensing Requirements and Annual Fee Violate the Intergovernmental
         Immunity Doctrine.

         D.C.’s burdensome licensing requirements—and the associated fees and

assessments—also violate the intergovernmental immunity doctrine because they attempt

to (1) “regulate[] the United States directly” and (2) “discriminate[] against the Federal

Government or those with whom it deals.” North Dakota v. United States, 495 U.S. 423,

435 (1990) (plurality op.).17

         Regulation of federal contractors is one way states can violate the

intergovernmental immunity doctrine. See id. at 438 (“[A] regulation imposed on one who

deals with the Government has as much potential to obstruct governmental functions as a

regulation imposed on the Government itself . . . .”). The Ninth Circuit’s decision in



         16
          Any provisions in the servicers’ contracts with Education requiring them to
comply with applicable state requirements are not to the contrary. See Gartrell Constr.,
Inc. v. Aubry, 940 F.2d 437, 440 (9th Cir. 1991) (rejecting the argument that a state could
license federal contractors because the contract required the contractor to obtain all
“applicable” licenses because “[f]ollowing Leslie Miller, state licensing laws cannot be
‘applicable’, nor compliance with them ‘necessary’, where such laws are preempted by
federal law”).
         17
         Although the controlling opinion in North Dakota was a plurality, the Supreme
Court was unanimous in concluding that states may not regulate or discriminate against the
United States. North Dakota, 495 U.S. at 435 (plurality op.); id. at 444 (Scalia, J.,
concurring); id. at 451-52 (Brennan, J., dissenting in part).
                                             14
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Boeing, Co. v. Movassaghi, 768 F.3d 832 (9th Cir. 2014), provides an instructive example.

There, California had enacted a site-specific environmental clean-up law covering a parcel

of land where the Federal Government, as well as defense contractors, had conducted

nuclear research and rocket testing. Id. at 834-35. Boeing owned most of the site, and was

also cleaning the site as a federal contractor. Id. The Ninth Circuit invalidated the

California law on intergovernmental immunity grounds, finding that it both directly

regulated the contractor’s conduct, and discriminated against the Federal Government and

those with whom it dealt.

       First, the Ninth Circuit held that the California law violated the intergovernmental

immunity doctrine by directly regulating Boeing’s conduct because the law “mandate[d]

the ways in which Boeing renders services that the federal government hired Boeing to

perform” and “regulate[d] not only the federal contractor but the effective terms of the

federal contract itself.” Id. at 840. Here, the D.C. Law and Rules, similarly, attempt to

directly dictate how the servicers perform their contracts with Education, including by

requiring servicers to maintain records, Final Rules § 3018.1; requiring servicers to report

complaints to D.C., Final Rules § 3022.1; and mandating that the servicers disclose

information in violation of their federal contracts, as discussed in Part III, infra. As the

Ninth Circuit concluded in Boeing, this direct regulation of a federal contractor’s duties is

improper and is fatal to the D.C. Law and Rules.

       In addition to direct regulation, the D.C. Law and Rules also discriminate against

the Federal Government and its contractors by placing burdensome regulations, including

a licensing requirement and fees, that apply only to student loan servicing—an area where

the Federal Government is the primary actor—rather than loan servicing or consumer



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lending in general. The D.C. regulations impose substantial financial burdens on the

servicers. Servicers must pay a yearly renewal fee, undergo periodic examinations at a

daily rate of $400, and pay a yearly assessment of $0.50 per borrower serviced in D.C.,

Final Rules § 3023.1, a significant amount relative to the servicers’ total income per

borrower.18 These economic burdens would be felt largely by the servicers under contract

with the Federal Government.

       The fact that the D.C. Law and Rules will ostensibly also apply to purely private

loan servicing does not belie the intergovernmental immunity concerns. In Boeing, for

example, California’s law applied to the entire waste cleanup site, of which the Federal

Government owned only portions, yet the Ninth Circuit still determined that the regulation

discriminated against the Federal Government or those with whom it dealt because it

attempted to apply more stringent cleanup requirements to the parcel than were generally

applicable in California. Boeing, 768 F.3d at 842. Likewise, here, the burden of D.C.’s

Law and Rules will be felt disproportionately by Education’s contractors because federal

student loans constitute the vast majority of all extant student loans,19 and federal



       18
          See Letter from Winfield P. Crigler, Executive Director, SLSA, to Christian A.
Washington, Legislative Analyst, DISB at 5 (Feb. 26, 2018), Am. Compl., Ex. N, ECF No.
19-14 (“[T]he annual assessment contained in the proposed regulation[] [of] $0.50 per
borrower serviced is onerous in that it would make it difficult for servicers to retain enough
revenue to provide the services required. Federal loan servicers are paid on a sliding scale
per borrower . . . . The most a servicer can be paid is $2.85 per borrower per month . . . .
[A] servicer is paid only 45 cents per month [at the lowest]. . . . Any amount more than a
few pennies per borrower will significantly impair federal servicers’ ability to service loans
under the contract with the U.S. Department of Education.”).
       19
          According to the Federal Reserve, $1.531 trillion was outstanding in all types of
student loans at the end of the second quarter in 2018. Board of Governors of the Federal
Reserve, Consumer Credit – G.19 (Aug. 7, 2018), https://www.federalreserve.gov/
releases/g19/current/default.htm. At that time, $1.407 trillion was outstanding in federal
student loans, or about 92% of the total student loan amount. Federal Student Aid, Federal
                                             16
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contractors service nearly all federal student loans.20 See North Dakota, 495 U.S. at 435

(“[T]he question whether a state regulation discriminates against the Federal Government

cannot be viewed in isolation. Rather, the entire regulatory system should be analyzed to

determine whether it is discriminatory ‘with regard to the economic burdens that result.’”

(quoting Washington v. United States, 460 U.S. 536, 544 (1983))).

       Indeed, the discriminatory effect of D.C.’s regime on the Federal Government and

those with whom it deals is further apparent from the text of the D.C. law itself. In Boeing,

one of the reasons for the Ninth Circuit’s finding of discrimination was the specific

statement in the California law that it was singling out the waste clean-up zone because it

disagreed with the federal agency’s choice of clean-up standards.21 Here, likewise, the

Emergency Rules explicitly stated that they intended to address defects in the

administration of loans by federal—not private—contractors because D.C. disagrees with

the Federal Government’s contracting standards, including recent changes in Education’s

administration of federal student lending.        See Third Emergency Rules at 1 (“This

emergency rulemaking is necessary because . . . [t]he federal government has begun to




Student Aid Portfolio Summary (last viewed July 18, 2018), https://studentaid.ed.gov/sa/
about/data-center/student/portfolio.
       20
          Of the $1.407 trillion outstanding in federal student loans at the end of the second
quarter in 2018, $1.196 trillion was managed by the Federal Government. See Federal
Student Aid, Portfolio by Loan Status (last viewed June 12, 2018), https://
studentaid.ed.gov/sa/about/data-center/student/portfolio (summing outstanding amounts in
“Federally Managed” category).
       21
          See Boeing, 768 F.3d at 843 (“[The California law] specifically targets [the site]
because of the radioactive pollution created by federal activity on the site and because [of
federal agency decisions]. [The California law] applies more stringent cleanup standards
than generally applicable state environmental laws. By doing so, [it] discriminates against
the federal government and against Boeing as a federal contractor. Therefore, it is invalid
under the doctrine of intergovernmental immunity.”).
                                             17
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amend and repeal several federal regulations and policies related to student aid.”); id. (“The

Department of Education has also withdrawn several Obama administration memoranda

crafted to strengthen consumer protections for student loan borrowers, including

consideration of a loan servicer’s records related to consumer complaints and investigation

prior to the award of any federal contract.” (emphasis added)). Although this language has

been removed from the introduction to the Final Rules, the Final Rules are substantively

identical to the Third Emergency Rules and there is no indication that D.C.’s intent in

promulgating the rules has changed. Cf. Introduction to Final Rules 65 D.C. Reg. at 8396

(“[T]here have been no changes to the final rulemaking.”). D.C.’s regulations therefore

disproportionately burden federal contracts for loan servicing in effect and by design—

D.C. intended to target federal contracts.

III.     D.C.’s Disclosure Requirements Are Preempted Because They Conflict with
         the Privacy Act and the Servicers’ Contracts with Education.

         Federal law—including the Privacy Act and the servicers’ contracts with

Education—preempts portions of D.C.’s disclosure requirements.             The Privacy Act

provides that “[n]o agency shall disclose any record which is contained in a system of

records . . . except pursuant to a written request by, or with the prior consent of, the

individual to whom the record pertains”—unless an exception applies. 5 U.S.C. § 552a(b).

The Privacy Act governs records “about an individual . . . maintained by an agency . . . and

that contain[] [the individual’s] name, or the identifying number, symbol, or other

identifying particular assigned to the individual,” id. § 552a(a)(4), that are stored in a

“system of records,” or “a group of any records under the control of any agency from which

information is retrieved by the name of the individual or by some identifying number,

symbol, or other identifying particular assigned to the individual,” id. § 552a(a)(5).

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Contractors, such as student loan servicers, are subject to criminal liability if they violate

the Privacy Act. See id. § 552a(m)(1) (providing that contractors are considered employees

for the purposes of § 552a(i)); id. § 552a(i) (providing for criminal penalties for disclosures

by employees). In addition, the servicers’ contracts require compliance with the Privacy

Act. See, e.g., PHEAA Contract, Attachment A-2 ¶ 80(d) (prohibiting servicers from

“disseminati[ng] copies of any deliverable that contains information covered by the Privacy

Act”); PHEAA Contract, Addendum 2 at B.2 (incorporating by reference two Federal

Acquisition Regulation clauses pertaining to the Privacy Act: 52.224-1 and 52.224-2); 48

C.F.R. § 52.224-1 (Privacy Act Notification clause requiring contractors to “design,

develop, or operate a system of records on individuals” and warning that that system will

be “subject to the Privacy Act” and that “[v]iolation of the Act may involve the imposition

of criminal penalties”); 48 C.F.R. § 52.224-2 (Privacy Act clause requiring contractors to

comply with the Privacy Act).

       As these provisions contemplate, the servicers necessarily will possess Privacy Act-

protected records. For example, servicers possess borrower records containing their

names, contact information, identification numbers, and other personally-identifiable

information. The D.C. regulations conflict with the servicers’ Privacy Act obligations by

purporting to require that servicers reveal potentially unlimited types and amounts of

sensitive information to DISB. Servicers must “make applicable books and records

available to [DISB],” Final Rules § 3018.2,22 and provide an annual report to DISB




       22
           Nor does the Rules’ statement that DISB “may waive or reduce requirements in
this section if [DISB] determines that compliance would require the licensee to violate
federal law,” Final Rules § 3018.4, resolve the conflict. This provision, which applies only
                                              19
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including “[a]ny other relevant information related to business operations required by

[DISB],” Final Rules § 3014.2(b). DISB may also request a “special report” from a

servicer which must contain any information required by DISB. Final Rules § 3017.1; see

also Final Rules § 3007.3 (permitting DISB to “restrict or impose conditions on any

license,” which could include disclosure conditions). And, servicers must provide to DISB

“[a] complaint against a licensee . . . on a form prescribed by [DISB], and in accordance

with the procedures or processes prescribed by [DISB].” Final Rules § 3022.1. There is

apparently no limit on what material DISB may elect to deem “applicable” or “relevant.”

These extremely broad grants of authority in turn place no limits on the information that

DISB could demand from servicers, which certainly could encompass Privacy Act

protected records. D.C.’s disclosure requirements are thus preempted by federal law to the

extent that they authorize compelling servicers to disclose Privacy Act-protected

materials.23




to § 3018, purports to permit DISB to determine when compliance would interfere with
federal law, leaving servicers exposed to sanctions if DISB errs.
        23
           As required by the Privacy Act, Education has published System Of Records
Notices (SORNs) describing Education’s records concerning student-borrowers and setting
forth how Education may use and disclose the information contained in those records.
Although the relevant SORNs permit Education to disclose to state regulators borrower
data held by servicers, that decision is a discretionary one by Education. See, e.g., Notice
of an Altered System of Records entitled “Common Services for Borrowers (CSB)” (18-
11-16), 81 Fed. Reg. 60,683, 60,686 (Sept. 2, 2016) (“The Department may disclose
information contained in a record in this system of records under the routine uses listed in
this system without the consent of the individual . . . . These disclosures may be made on a
case-by-case basis . . . .” (emphasis added)); id. at 60,687 (listing as a routine use
“disclosures to governmental entities at the Federal, State, local, or tribal levels regarding
the practices of Department contractors . . . (e.g., Federal Loan servicers [)] . . . in order to
permit these governmental entities to verify the contractor’s compliance with . . . applicable
statutory, regulatory, or local requirements”); cf. Notice of a Modified System of Records
entitled “Customer Engagement Management System (CEMS)” (18-11-11), 83 Fed. Reg.
27,587 (June 13, 2018) (addressing discretionary releases for enforcement purposes). The
                                               20
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        D.C.’s disclosure requirements are also preempted by the servicers’ contracts with

Education. Conflict preemption may arise from conflicts between state law and the

provisions of contracts between the Federal Government and contractors. See Boyle v.

United Techs. Corp., 487 U.S. 500 (1988); e.g., id. at 509 (identifying a conflict because

“the state-imposed duty of care that is the asserted basis of the contractor’s liability . . . is

precisely contrary to the duty imposed by the Government contract”). In Boyle, the

Supreme Court recognized that such preemption could occur in (1) areas of “uniquely

federal interests” with (2) “‘significant conflict’ . . . between an identifiable ‘federal policy

or interest and the [operation] of state law,’ or [where] the application of state law would

‘frustrate specific objectives’ of federal legislation.” Id. at 507 (citations omitted).

        Both requirements for preemption by contract are met here. Federal student loans

are an area of uniquely federal interests. See id. at 504-05 (finding that federal contracts

are an area of uniquely federal interest because “obligations to and rights of the United

States under its contracts are governed exclusively by federal law” (citing United States v.

Little Lake Misere Land Co., 412 U.S. 580 (1973); Priebe & Sons, Inc. v. United States,

332 U.S. 407 (1947); Nat’l Metro. Bank v. United States, 323 U.S. 454 (1945))). As

previously discussed, there are significant conflicts between D.C.’s laws and Education’s

interest in controlling the release of its information. This is especially the case because,

here as in Boyle, the federal fisc would be negatively affected by D.C.’s law and Rules

because the servicers would pass increased costs on to the Federal Government. Cf. Boyle,




servicers are not authorized to release information absent approval by Education, and
Education is certainly not required to accede to any request for information by a state
regulator. Furthermore, the exception applies only to disclosures pursuant to “applicable”
state laws, and, for the reasons previously discussed, D.C.’s laws here are not “applicable.”

                                               21
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487 U.S. at 511-12 (“The financial burden of judgments against the contractors would

ultimately be passed through, substantially if not totally, to the United States itself, since

defense contractors will predictably raise their prices to cover, or to insure against,

contingent liability for the Government-ordered designs.”)

       Education’s contracts with its servicers conflict with the Rules because they provide

that the Federal Government, not the servicers, controls the data, records, and other

information produced in performing the contract. See, e.g., PHEAA Contract, Attachment

A-2 ¶ 80(b) (“Contractor shall treat all deliverables under the contract as the property of

the U.S. Government for which the Government Agency shall have unlimited rights to use,

dispose of, or disclose such data contained therein as it determines to be in the public

interest.”); PHEAA Contract, Attachment A-2 ¶ 80(f) (“The Government Agency owns the

rights to all data/records produced as part of this contract.”). Any disclosures of data

produced as part of the servicers’ performance of their contracts—even if the disclosed

data were not covered by the Privacy Act—would therefore violate the servicers’ contracts

with Education. D.C.’s disclosure requirements are therefore preempted to the extent that

they conflict with the data provisions in the Department’s contracts with its servicers.

                                      CONCLUSION

       For the above reasons, the United States respectfully submits that the D.C. Law and

Rules are preempted because they require servicers to obtain a D.C. license as a condition

of servicing federal student loans, have the practical effect of burdening the servicing of

federal student loans, and require servicers to disclose information in contravention of the

Privacy Act or the servicers’ contracts.




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Dated: August 24, 2018             Respectfully submitted,

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